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                           15                             UNITED STATES DISTRICT COURT
                           16                            CENTRAL DISTRICT OF CALIFORNIA
                           17 POST INVESTMENT GROUP LLC                 Case No. CV 21-752-GW-PDx
                              AND POST REAL ESTATE GROUP
                           18 INC.,                                     ORDER OF DISMISSAL
                           19                   Plaintiffs,             Complaint Filed: January 27, 2021
                                                                        Judge: Honorable George H. Wu
                           20             vs.                           Courtroom: 9D, 9th Floor
                           21 ARCH INSURANCE COMPANY and
                              DOES 1-10, inclusive,
                           22
                                  Defendants.
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                                    [PROPOSED] ORDER OF DISMISSAL       1                            38974\14453969.1
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                              1           Pursuant to the stipulation of the parties under Federal Rule of Civil
                              2 Procedure 41(a)(1)(ii), IT IS ORDERED THAT THIS ACTION BE, AND
                              3 HEREBY IS, DISMISSED WITH PREJUDICE as to all claims, causes of action,
                              4 and parties, with each party bearing that party’s own attorney’s fees and costs. The
                              5 Clerk is directed to close the file.
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                              8 Dated: November 15, 2021
                              9                                            HON. GEORGE H. WU,
                                                                           United States District Judge
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